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 2
                                UNITED STATES DISTRICT COURT
 3                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
 4
     ALENA KRILEY,                                         Case No.: 1:22-cv-04832
 5
                      Plaintiff,
 6

     vs.                                                   PLAINTIFF’S RESPONSE TO DEFEND-
 7
                                                           ANT’S STATEMENT OF ADDITIONAL
 8   PAUL KRILEY                                           FACTS IN SUPPORT OF HIS RESPONSE
                                                           TO PLAINTIFF’S MOTION FOR SUM-
 9                    Defendant.                           MARY JUDGEMENT
10
                                                           JUDGE: HON. MARTHA M. PACOLD
11
                                                           ORAL ARGUMENT REQUESTED
12

13

14         Pursuant to Federal Rule of Civil Procedure 56 and LR 56.1 (c), Plaintiff Alena Kriley, by her

15   attorney, Scott T. Ferrill, files this OBJECTION AND RESPONSE TO Nonmovant’s Statements of
     additional Facts as follows:
16
       Objections as To Form regarding Nonmovant’s Rule 56.1(b)(3) Statement of
17
                                   Additional Facts
18
            1. Defendant has failed to comply with LR 56.1(b)(3) as he has asserted facts
19
                not set forth in LR 56.1(a)(2) statement or the LR 56.1(b)(2) response and has
20
                referred to various evidentiary material but fails to attach same as required by
21
                this rule.
22
            2. Defendant has failed to concisely number his paragraphs or even cite and at-
23
                tach his evidential material.
24

25
            3. Plaintiff is only required to respond to statements of material facts that com-

26
                ply with L.R. 56.1(e) and which has attached cited evidentiary material,

27              which Defendant wholly fails to do.
28                                                     1
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 1                                GENERAL OBJECTIONS
 2                      As stated in Plaintiff’s Reply to Defendant’s Response to Plain-
 3
            tiff’s Motion for Summary Judgment, Defendant has failed to abide by local
 4
            rules in regard to his statement of additional material facts. Defendant’s state-
 5
            ment of facts are not separately identified or paragraphs numerated, but rather
 6
            are sprinkled though out his Memorandum of Law and exhibits identified are
 7
            never attached.
 8
                  MOVANT’S LOCAL RULE 56.1(c)(2) RESPONSE TO STATE-
 9                        MENT OF ADDITIONAL FACTS
10
                Nonmovant’s Fact                                  Movant’s Response
11
     1. “However, it is evident that she is re-       1. Plaintiff objects to Defendant’s entire
12   ceiving some funds as she and the                asserted additional facts for failing to
13
     Plaintiff have been living separate and          comply with LR 56.1(d) and failing to at-
     apart ever since November 9, 2020,               tach any cited evidentiary material not
14   when the Defendant petitioned for and            previously attached in addition to being
15   received his Emergency order of Protec-          inadmissible as nonmaterial asserted
     tion for himself and for the parties’ mi-        facts. Plaintiff disputes the asserted fact
16
     nor child. Exhibit 1 is a copy of the No-        that she is receiving “some funds” as
17   vember 9, 2020 Emergency Order of                vague, without a time frame, inadmissible
     Protection.”                                     due to lack of materiality and she disputes
18
                                                      the date of separation as being incorrect,
19                                                    the correct date being September 29,
20
                                                      2020 and disputes the remainder of facts
                                                      and objects as to lack of materiality and
21                                                    admissibility.
22
     2. “Since the date of separation, the            2. Plaintiff objects to the Defendant’s en-
23
     Plaintiff has paid for all of her own ex-        tire assertion of additional fact for failing
24   penses.”                                         to comply with LR 56.1(d) and failing to
                                                      attach any cited evidentiary material not
25
                                                      previously attached, in addition to being
26                                                    inadmissible as nonmaterial asserted
27
                                                      facts. Plaintiff admits she had paid and
                                                      unpaid expenses incurred since the date
28                                                2
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 1                                                  of separation and owes a substantial
 2                                                  amount of funds from loans, credit cards
                                                    and unpaid medical bills and is being
 3
                                                    sued for unpaid credit cards.
 4

 5
     3. “On October 28, 2021, Alena provid-    3. Plaintiff objects to the Defendant’s en-
     ed an Illinois Financial Affidavit with   tire statement of additional facts for fail-
 6   Supporting documents.”                    ing to comply with LR 56.1(d) and failing
 7                                             to attach any cited evidentiary material
                                               not previously attached in addition to be-
 8                                             ing inadmissible as nonmaterial asserted
 9                                             facts. Plaintiff admits she provided an Il-
                                               linois Financial Affidavit on or about the
10
                                               date claimed.
11   4. “As of October 28, 2021, the Plaintiff 4. Plaintiff objects to Defendant’s entire
12
     states her monthly expenses exceeded      statement of additional material facts for
     $5,000.00 a month which does not in-      failing to comply with LR 56.1(d) and
13   clude any payments towards her out-       failing to attach any cited evidentiary ma-
14   standing credit card debt. The plaintiff  terial not previously attached in addition
     further lists numerous loans that she     to being inadmissible as nonmaterial as-
15
     provided promissory notes for which in- serted facts. Plaintiff admits the Illinois
16   dicate interest and payment by Decem- Financial Affidavit states what it states
     ber 31, 2021, for each note. In sum to-   and disputes the asserted fact that amount
17
     tal, the Plaintiff indicated that she had of loans claimed...would have not even
18   borrowed $57,530.00 over the course of been enough to cover her stated living ex-
19
     approximately six (6) months of which, penses given that she has incurred loans,
     at least, $29,380.00 were for legal fees  credit card debt, medical debts and other
20   and costs, if not more. In sum total, the unpaid expenses.
21   amount of loans that the Plaintiff has
     claimed to have required over this
22
     timeframe would not have even been
23   enough to cover her stated living ex-
     penses.”
24

25   5. “One such promissory note made              5. Plaintiff objects to Defendant’s entire
26
     with Maryia Horbach indicates it was           statement of additional facts for failing to
     for various expenses for the minor child       comply with LR 56.1(d) and failing to at-
27   including food, clothing, babysitting          tach any cited evidentiary material not
28                                              3
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 1   expenses, and toys.                         previously attached in addition to being
 2                                               inadmissible as nonmaterial facts. Plain-
                                                 tiff admits any promissory note, none of
 3
                                                 which were provided as evidentiary mate-
 4                                               rial, speaks for itself.
 5
     6. What should be noted is that this        6. Plaintiff objects to Defendant’s entire
     promissory note was made June 1,            statement of additional facts for failing to
 6   2021, while the minor child was still a     comply with LR 56.1(d) and failing to at-
 7   protected party and following the entry tach any cited evidentiary material not
     of an emergency order that had been en- previously attached in addition to being
 8   tered on April 9, 2021 (Exhibit 3),         inadmissible as nonmaterial facts. Plain-
 9   which permitted the Defendant to leave tiff cannot respond to a note never pro-
     the State of Illinois with the minor child duced and an emergency order never pro-
10
     due to the death threats that the Plaintiff duced and further there is no materiality
11   was issuing against the Defendant and       or relevancy to these asserted facts.
12
     his family.
     7. “Further inspection of the Plaintiff’s 7. Plaintiff objects to Defendant’s entire
13   financial affidavit indicates that she “re- statement of additional facts for failing to
14   turned” loans in the amount of $123,        comply with LR 56.1(d) and failing to at-
     162.00.”                                    tach any cited evidentiary material not
15
                                                 previously attached in addition to being
16                                               inadmissible as nonmaterial asserted
                                                 facts. Plaintiff admits the document,
17
                                                 which is not produced, speaks for itself.
18   8. “Namely, the Plaintiff, in or around 8. Plaintiff objects to Defendant’s entire
19
     the winter of 2020 fled the State of Illi- statement of additional for failing to com-
     nois with the minor child by way of tak- ply with LR 56.1(d) and failing to cite
20   ing a taxi which she charted all the way and attach any evidentiary material not
21   to New York so that she could hide in       previously attached in addition to being
     Consulate General of Belarus. Said trip inadmissible as irrelevant and nonmate-
22
     cost thousands of dollars that the Plain- rial facts. Plaintiff disputes she fled any-
23   tiff was able to procure.”                  where to hide anywhere and the cost of
                                                 any such trip, upon which no evidence is
24
                                                 provided, is immaterial, inadmissible and
25                                               irrelevant.
26
     9. “Another incident occurred in or         9. Plaintiff objects to Defendant’s entire
     around March 30, 2021, when the Plain- statement of additional facts for failing to
27   tiff was able to fly herself down to the    comply with LR 56.1(d) and failing to
28                                             4
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 1   Fort Lauderdale area of Florida and              cite and attach any evidentiary material
 2   hailed a Lyft which drove her around             not previously attached in addition to be-
     for almost two (2) hours while she               ing inadmissible as nonmaterial and irrel-
 3
     probed her driver for information as to          evant asserted facts.
 4   hire a hitman to kill the Defendant and
     his family members.”
 5

 6   10. Lastly, on or around April 8, 2021,          10. Plaintiff objects to Defendant’s entire
 7   the Plaintiff broke in the Defendant’s           statement of additional facts for failing to
     apartment where she looted numerous              comply with LR 56.1(d) and failing to
 8   items, including computers and                   cite and attach any evidentiary material
 9   $2,000.00 cash which was being held in           not previously attached in addition to be-
     a locked locker. For good measure, the           ing inadmissible as nonmaterial asserted
10
     Plaintiff had the locks changed on the           facts.
11   Defendant’s apartment so he could not
12
     gain access to his home upon return.
     11. The Plaintiff currently has no par-          11. Plaintiff objects to Defendant’s entire
13   enting time with the minor child and is          statement of additional facts for failing to
14   only permitted brief FaceTime calls.             comply with LR 56.1(d) and failing to
                                                      cite and attach any cited evidentiary ma-
15
                                                      terial not previously attached in addition
16                                                    to being inadmissible as nonmaterial and
                                                      irrelevant asserted facts.
17

18   12. The minor child remains a pro-               12. Plaintiff objects to Defendant’s en-
19
     tected party and based on the flight risk        tire statement of additional facts for fail-
     that the Plaintiff has presented herself         ing to comply with LR 56.1(d) and failing
20   as, it is likely she that any parenting          to cite and attach any evidentiary material
21   time she has with the minor child will           not previously attached in addition to be-
     be supervised upon final judgement.              ing inadmissible as nonmaterial and irrel-
22
                                                      evant asserted facts.
23   13. As a result of the Plaintiff’s inabil-       13. Plaintiff objects to Defendant’s entire
     ity to take care of the minor child, the         statement of additional facts for failing to
24
     Defendant is the primary caretaker and           comply with LR 56.1(d) and failing to
25   is currently receiving no financial sup-         cite and attach any evidentiary material
26
     port or otherwise from the Plaintiff.            not previously attached in addition to be-
                                                      ing inadmissible as nonmaterial and irrel-
27                                                    evant asserted facts.
28                                                5
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 1    14. “The Defendant submitted his own              14. Plaintiff objects to Defendant’s en-
 2    financial affidavit as part of the dissolu-       tire statement of additional facts for fail-
      tion matter (Exhibit 4). Said financial           ing to comply with LR 56.1(d) and failing
 3
      affidavit shows that the defendant, in            to attach any cited evidentiary material
 4    2021, was only making approximately               not previously attached in addition to be-
      $2120 a month, which in itself, hardly            ing inadmissible as nonmaterial asserted-
 5
      exceeds 125% of the Federal Poverty               facts.
 6    Guidelines for a household of two (2).”
 7
      15. “Defendant is the victim of domes-            15. Plaintiff objects to Defendant’s en-
 8    tic violence perpetrated the Plaintiff, for       tire statement of additional facts for fail-
 9    which there is an Order of Protection             ing to comply with LR 56.1(d) and failing
      (Exhibit 5) and a criminal charge for vi-         to attach any cited evidentiary material
10
      olation of the Order of Protection. A             not previously attached in addition to be-
11    Plenary Order of Protection was entered           ing inadmissible as nonmaterial and irrel-
12
      _____________.”                                   evant asserted facts. Plaintiff disputes a
                                                        Plenary Order of Protection was entered
13                                                      on an invisible date or any date whatso-
14                                                      ever.
15
     Respectfully submitted,
16
     ALENA KRILEY
17
     BY: /s/ Scott T. Ferrill
18

19   Scott Ferrill, Plaintiff’s Attorney

20

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22   Scott T. Ferrill
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